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                          UNITED STATES BANKRUPTCY COURT

                             EASTERN DISTRICT OF LOUISIANA

    IN RE:                                       CASE NO. 19-08638
                                                 United States Bankruptcy Court for the
    THE PRODUCERS, INC.                          Middle District of Florida (Tampa)

    Debtor.                                      CHAPTER 7

    SIGMUND SOLARES                              ADVERSARY PROCEEDING

    Plaintiff                                    CASE NO. 20-01028

    versus                                       RELIEF IS SOUGHT FROM A UNITED
                                                 STATES DISTRICT JUDGE
    GREGORY FAIA, MICHAEL GARDNER,
    VERNON DECOSSAS, DNC HOLDINGS,
    INC., DOMAIN APPS, LLC, FAIA AND
    ASSOCIATES,       LLC,      FAIA
    DEVELOPMENT GROUP, LLC, and ADS
    SQUARED, LLC

    Defendants

    DNC HOLDINGS, INC.,
    and DOMAIN APPS, LLC

    Plaintiffs-in-reconvention

    versus

    THE  PRODUCERS,    INC., SNOW
    TURTLES LTD, DIRECTNIC LTD, and
    PARKED.COM LTD

    Defendants-in-reconvention.

                  MOTION FOR ORDER WITHDRAWING THE REFERENCE

            NOW INTO COURT, through undersigned counsel, come Gregory Faia, Vernon

   Decossas, DNC Holdings, Inc., Domain Apps, LLC, Faia and Associates, LLC, Faia Development

   Group, LLC, and ADS Squared, LLC (“Defendants”), who hereby file this Motion for Order




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   Withdrawing the Reference of the above-referenced Adversary Proceeding from the United States

   Bankruptcy Court for the Eastern District of Louisiana (the “Bankruptcy Court”) to the United

   States District Court for the Eastern District of Louisiana (the “District Court”), pursuant to 28

   U.S.C. § 157(d), Bankruptcy Rule 5011, and E.D. La. Local Rule 83.4.3. By this Motion, and for

   the reasons more fully set forth in the accompanying memorandum in support, Defendants submit

   that cause exists to withdraw the reference for this Adversary Proceeding.

                       REQUIREMENTS OF E.D. LA. LOCAL RULE 83.4.3

   A.       Designation of the portions of the record of the proceedings in the bankruptcy court
            that will reasonably be necessary or pertinent for consideration of the motion by the
            district court.

            Designation of Documents from Bankruptcy Case – Case No. 19-08638

            Dkt. No. 1- Chapter 7 Involuntary Petition

            Dkt. No. 9- Motion for Clarification that the Automatic Stay Does Not Apply to his State
            Law Claims Against Non-Debtors

            Dkt. No. 48- Order On Motion For Relief From Stay

            Dkt. No. 49- Motion For Relief From Automatic Stay Or To Confirm Automatic Stay Does
            Not Bar Claims Against Non-Debtor Third Parties

            Dkt. No. 94- Order Granting, In Part, Motion For Reconsideration (Doc. 49); Second Order
            On Sigmund Solare's Motion For Clarification That The Automatic Stay Does Not Apply
            To His State Law Claims Against Non-Debtors (Doc. 9); Order On Motion For Relief From
            Stay (Doc. 48); And Order Sua Sponte Enlarging Time For Removal Pursuant To
            Bankruptcy Rule 9027

            Designation of Documents from Adversary Proceeding – Adv. Proc. No. 20-01028

            Dkt. No. 1- Notice of Removal

            Dkt. No. 4- Motion to Transfer Venue to the United States Bankruptcy Court for the Middle
            District of Florida

            Dkt. No. 5- Notice of Filing Operative Pleadings

            Dkt. No. 11- Notice of Hearing

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            Dkt. No. 18- Certificate of Service

            Dkt. No. 20- Certificate of Service

            Dkt. No. 25- Motion for Abstention and Remand Pursuant to 28 U.S.C. §§ 1334(c) and
            1452(b)

            Dkt. No. 26- Notice of Hearing

            Dkt. No. 27- Ex Parte Motion to Continue Hearing on Solares’s Transfer Motion

            Dkt. No. 28- Certificate of Notice

            Dkt. No. 29- Opposition to Ex Parte Motion to Continue Hearing on Solares’s Motion to
            Transfer Venue

            Dkt. No. 30- Certificate of Service

            Dkt. No. 31- Order

            Dkt. No. 32- Certificate of Notice

   B.       List showing the names of each party with an interest in the motion and for each party
            shown, the names of their attorney along with such attorney’s mailing address.

        1. Sigmund Solares

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        2. Michael A. Gardner

            Jean-Paul Layrisson

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            Fax: 813-223-7118
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            New Orleans, LA 70163

       5. Vernon DeCossas

            Michael W. Magner
            R. Patrick Vance
            Andrew R. Lee

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            Peter J. Kee
            Madison M. Tucker
            [See above for mailing address]

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       6. DNC Holdings, Inc.

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            Andrew R. Lee
            Peter J. Kee
            Madison M. Tucker
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            Ryan K French
            [See above for mailing address]

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       7. Domain Apps, LLC

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            Andrew R. Lee
            Peter J. Kee
            Madison M. Tucker
            [See above for mailing address]

            Ryan K French
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       8. Faia and Associates, LLC



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            Michael W. Magner
            R. Patrick Vance
            Andrew R. Lee
            Peter J. Kee
            Madison M. Tucker
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            W.J. Leblanc, Jr.
            [See above for mailing address]

            David Daly
            [See above for mailing address]

       9. Faia Development Group, LLC

            Michael W. Magner
            R. Patrick Vance
            Andrew R. Lee
            Peter J. Kee
            Madison M. Tucker
            [See above for mailing address]

            W.J. Leblanc, Jr.
            [See above for mailing address]

       10. ADS Squared, LLC

            Michael W. Magner
            R. Patrick Vance
            Andrew R. Lee
            Peter J. Kee
            Madison M. Tucker
            [See above for mailing address]

       11. Larry S. Hyman, Chapter 7 Trustee

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       12. United States Trustee - TPA7/13



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             Timberlake Annex, Suite 1200
             501 E Polk Street
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             813-228-2000

       13. Snow Turtles, Ltd.

             Through Maples and Calder
             121 South Church Street
             George Town, Cayman Islands
             KYI-1104

       14. Directnic, Ltd.

             Through Maples and Calder
             121 South Church Street
             George Town, Cayman Islands
             KYI-1104

       15. Parked.com, Ltd.

             Through Maples and Calder
             121 South Church Street
             George Town, Cayman Islands
             KYI-1104

             WHEREFORE, Defendants pray that this Motion be granted and that the District Court

   enter an Order (i) withdrawing the reference to the Bankruptcy Court for the above-referenced

   Adversary Proceeding, and (ii) granting such other and further relief as the District Court deems

   proper.




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                                         Respectfully submitted,

                                         /s/ Madison M. Tucker
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                                         R. PATRICK VANCE (#13008)
                                         ANDREW R. LEE (#21196)
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                                         Attorneys for Defendants, Gregory Faia, Vernon
                                         Decossas, DNC Holdings, Inc., Domain Apps, LLC,
                                         Faia and Associates, LLC, Faia Development
                                         Group, LLC, and ADS Squared, LLC




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                                    CERTIFICATE OF SERVICE

            I hereby certify that a copy of the foregoing Motion for Order Withdrawing the Reference

   was filed electronically through the Court’s CM/ECF system on May 27, 2020, which provides

   notice to all counsel of record by electronic means. I further certify that on May 27, 2020, a true

   and correct copy of the foregoing was caused to be served by First Class Mail, Postage Prepaid

   upon:

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   Jean-Paul Layrisson
   Scandurro & Layrisson, LLC
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   New Orleans, LA 70130


                                                        /s/ Madison M. Tucker__________________
                                                        Madison M. Tucker




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                          UNITED STATES BANKRUPTCY COURT

                            EASTERN DISTRICT OF LOUISIANA

   IN RE:                                       CASE NO. 19-08638
                                                United States Bankruptcy Court for the
   THE PRODUCERS, INC.                          Middle District of Florida (Tampa)

   Debtor.                                      CHAPTER 7

   SIGMUND SOLARES                              ADVERSARY PROCEEDING

   Plaintiff                                    CASE NO. 20-01028

   versus                                       RELIEF IS SOUGHT FROM A UNITED
                                                STATES DISTRICT JUDGE
   GREGORY FAIA, MICHAEL GARDNER,
   VERNON DECOSSAS, DNC HOLDINGS,
   INC., DOMAIN APPS, LLC, FAIA AND
   ASSOCIATES,       LLC,      FAIA
   DEVELOPMENT GROUP, LLC, and ADS
   SQUARED, LLC

   Defendants

   DNC HOLDINGS, INC.,
   and DOMAIN APPS, LLC

   Plaintiffs-in-reconvention

   versus

   THE  PRODUCERS,    INC., SNOW
   TURTLES LTD, DIRECTNIC LTD, and
   PARKED.COM LTD

   Defendants-in-reconvention.

                  MEMORANDUM IN SUPPORT OF MOTION FOR ORDER
                        WITHDRAWING THE REFERENCE

           Defendants, Gregory Faia, Vernon Decossas, DNC Holdings, Inc., Domain Apps, LLC,

  Faia and Associates, LLC, Faia Development Group, LLC, and ADS Squared, LLC, through




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  undersigned counsel, file this Memorandum in Support of Motion for Order Withdrawing the

  Reference of the above-referenced Adversary Proceeding.

                                  PRELIMINARY STATEMENT

           1.    In February of 2017, Sigmund Solares (“Plaintiff” or “Solares”) commenced a

  lawsuit in Louisiana state court, asserting non-core, Louisiana state law claims against the

  Defendants. More than three years later, Solares removed that entire lawsuit to the Bankruptcy

  Court, citing the involuntary bankruptcy of one defendant-in-reconvention as the basis for federal

  subject matter jurisdiction.

           2.    The Defendants submit that good cause exists for permissive withdrawal of the

  reference for this Adversary Proceeding pursuant to 28 U.S.C. § 157(d).

           3.    All causes of action asserted in the Adversary Proceeding are predicated on state

  tort and contract law and do not arise in or under the Bankruptcy Code. Therefore, pursuant to 28

  U.S.C. § 157(c), the Bankruptcy Court cannot enter a final judgment on Plaintiff’s non-core,

  primarily Louisiana state law claims – or on the state law claims asserted in Defendants’

  reconventional demands – absent consent of the parties. If the reference of this Adversary

  Proceeding is not withdrawn, the District Court would be required to conduct a de novo review

  pursuant to Bankruptcy Rule 9033 prior to any final disposition.

           4.    In addition, all parties to this Adversary Proceeding have demanded a jury trial, but

  in accordance with 28 U.S.C. § 157(e), the bankruptcy judges of the Eastern District of Louisiana

  are not authorized to conduct jury trials, absent consent of the parties. Respectfully, the Defendants

  do not consent to this Bankruptcy Court’s conducting a jury trial.




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           5.         Under these circumstances, withdrawal of the reference to the Bankruptcy Court at

  this time would promote judicial economy and efficiency, while conserving resources of both the

  parties and the judiciary.

                       RELEVANT FACTS AND PROCEDURAL BACKGROUND

  I.       The State Court Action.

           A.         Origination in CDC.

           6.         On February 21, 2017, Sigmund Solares commenced this action alleging fraud, tort,

  and breach of contract (hereinafter, the “State Court Action”) by filing his Petition for Damages

  and Declaratory Judgment (the “Petition”) in the Civil District Court for the Parish of Orleans

  (“CDC”).1 Solares demanded a trial by jury in his Petition. 2

           7.         The State Court Action arises from Solares’s attempts to claw back certain interests

  and assets in internet Companies, as that term is defined in his Petitions, which lawfully were

  transferred to certain of the Defendants to distance the Companies from Solares’s own tarnished

  business reputation and liabilities. According to Solares, these events involved an alleged failed

  business transaction between him and co-defendant Michael Gardner that resulted in an alleged

  conversion of Solares’s property by Gardner, Vernon Decossas, and Gregory Faia.

           8.         Solares’s Petition asserts claims against the Defendants and co-defendant Gardner

  for (1) breach of fiduciary duty; (2) conversion; (3) delictual fraud; (4) rescission of contracts for

  fraud; (5) breach of contract; (6) breach of oral contract; (7) violation of the Louisiana Unfair

  Trade Practices Act; (8) intentional infliction of emotional distress; and (9) legal malpractice.

           9.         Importantly, all causes of action asserted in Solares’s Petition arise under state law,

  and none could arise only in a bankruptcy case.


           1
               See Petition, attached hereto as Exhibit A.
           2
               See id., ¶ 74.

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           10.     On June 15, 2017, Solares filed his First Supplemental and Amending Petition for

  Damages and Declaratory Judgement (the “First Amended Petition”).3 In the First Amended

  Petition, Solares asserted additional facts and allegations against all of the Defendants. The First

  Amended Petition also included a demand for trial by jury. 4

           11.     On March 16, 2018, more than a year after its commencement and following

  extensive briefing and motion practice, Honorable Judge Ethel S. Julien transferred the State Court

  Action to the 24th JDC upon her finding that CDC was an improper venue. 5

           12.     Relevant to Judge Julien’s venue transfer, Solares is a Louisiana resident of

  Jefferson Parish.6 Similarly, Defendants Gregory Faia, DNC Holdings, Inc., Domain Apps, LLC,

  Faia and Associates, LLC, Faia Development Group, LLC, and ADS Squared, LLC 7 reside or have

  their principal places of business in Louisiana. 8

           B.      Transfer to the 24th JDC.

           13.     On June 22, 2018, the State Court Action was officially transferred to the 24 th JDC

  where additional discovery and motion practice ensued.

           14.     On December 7, 2018, Defendants Gregory Faia and Faia and Associates, LLC

  filed an Answer and Reconventional Demand, in which they requested reimbursement for the costs

  incurred in defending the State Court Action and demanded trial by jury on all issues. 9




           3
            See First Amended Petition, attached hereto as Exhibit B.
           4
            See id., ¶ 76.
          5
            See Judgment Granting Exceptions of Improper Venue, attached hereto as Exhibit D.
          6
            See Exhibit A-C, Petitions, ¶ 1.
          7
            The Defendants note that ADS Squared, LLC was not added to this Lawsuit until March 24, 2020, see infra
  ¶¶ 28-29.
          8
            See Exhibit A-C, Petitions, ¶ 2.
          9
            See Gregory Faia and Faia and Associates, LLC’s Answer and Reconventional Demand, attached hereto as
  Exhibit E, pp. 9-11.

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           15.   On December 14, 2018, Defendants Vernon Decossas, DNC Holdings, Inc.,

  Domain Apps, LLC, and Faia Development Group, LLC, filed their Answer and Reconventional

  Demand, asserting claims of fraud and defamation and also demanding trial by jury. 10

                 1.       The parties have engaged in extensive discovery and motion practice.

           16.   Since the early 2018 transfer of the State Court Action to the 24th JDC, the parties

  have engaged in extensive motion practice.

           17.   Among other things, exceptions to personal jurisdiction, multiple motions to

  compel discovery, motions to disqualify counsel, a motion for sanctions, motions to quash and for

  protective orders, and motions to strike and cease improper and/or ex parte communications with

  the court have been litigated in the 24th JDC since 2018.11

           18.   Further, as indicated by the discovery motions listed supra, the parties (and multiple

  third parties) have engaged in extensive written discovery since the transfer of the State Court

  Action two years ago.

                 2.       The Amended Reconventional Demand and the Florida Bankruptcy
                          Proceeding.

           19.   On May 31, 2019, Defendants DNC Holdings, Inc. and Domain App, LLC, filed

  the Amended Reconventional Demand, adding as Defendants-in-Reconvention The Producers,

  Inc. (“TPI”), Snow Turtles, Ltd., Directnic, Ltd., and Parked.com, Ltd.12 The Amended

  Reconventional Demand, which includes a demand for a jury trial, asserts causes of action for

  fraud, breach of contract, detrimental reliance, and loss of economic advantage. 13




          10
             See Vernon Decossas, DNC Holdings, Inc., Domain Apps, LLC, and Faia Development Group, LLC’s
  Answer and Reconventional Demand, attached hereto as Exhibit F, pp. 10-12.
          11
             See generally, Docket Sheet from 24th JDC, attached hereto as Exhibit G.
          12
             See Amended Reconventional Demand, attached hereto as Exhibit H.
          13
             See id, p. 8.

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           20.      On September 12, 2019, an involuntary bankruptcy petition was filed pursuant to

  chapter 7 of title 11 of the United States Code (as amended, the “Bankruptcy Code”) with respect

  to the above-captioned Debtor and Defendant-in-Reconvention, TPI, in the U.S. Bankruptcy Court

  for the Middle District of Florida (Tampa) (the “Florida Bankruptcy Court”).14

           21.      The Florida Bankruptcy Proceeding triggered the automatic stay pursuant to § 362

  of the Bankruptcy Code, staying at least certain claims in the State Court Action – primarily those

  belonging to the bankruptcy estate of the Debtor, TPI.

           22.      On October 8, 2019, Solares filed a Motion for Clarification that the Automatic

  Stay Does Not Apply to his State Law Claims Against Non-Debtors (as amended and restated in

  Solares’s Motion For Relief From Automatic Stay Or To Confirm Automatic Stay Does Not Bar

  Claims Against Non-Debtor Third Parties, Dkt. No. 49, the “Clarification Motion”) in the Florida

  Bankruptcy Proceeding. 15 Through his Clarification Motion, Solares sought confirmation that he

  could pursue claims asserted in the State Court Action during the pendency of TPI’s bankruptcy

  without violating the automatic stay. 16

           23.      On February 12, 2020, the Florida Bankruptcy Court held a hearing on the

  Clarification Motion. During this hearing, Solares recognized and acknowledged to the Florida

  Bankruptcy Court that while certain of the claims at issue in the State Court Action belong to the

  Debtor’s bankruptcy estate, the remaining claims belong to Solares personally. 17




           14
              See In re: The Producers, Inc.; Case No. 19-08638; United States Bankruptcy Court for the Middle District
  of Florida (Tampa) (the “Florida Bankruptcy Proceeding”).
           15
              See Florida Bankruptcy Proceeding. Dkt. No. 9.
           16
              See id.
           17
              See Transcript of Hearing on Clarification Motion, attached hereto as Exhibit I, p. 12:24-25, 13:1-20
  (acknowledging that there “are two distinct groups of transactions” and that Solares’s fraud claims are “not a Chapter
  5 cause of action”).

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           24.      Notably, at the Clarification Motion hearing, when presented with the idea that

  Solares’s State Court Action, in its entirety, be brought to Florida and consolidated with the Florida

  Bankruptcy Proceeding, Judge Catherine Peek McEwen expressed reluctance. 18

           25.      Following the hearing, on February 28, 2020, the Florida Bankruptcy Court entered

  an Order (the “Clarification Order”), allowing Solares to proceed in the State Court Action on

  claims for personal delictual fraud and intentional infliction of emotional distress, while reserving

  any claim actually arising out of Chapter 5 of the United States Bankruptcy Code to the bankruptcy

  estate, and otherwise reserving ruling on the impact of the stay on the remaining of the claims. 19

           26.      The Clarification Order further stated that “the automatic stay shall not apply to

  Solares filing a Second Supplemental and Amending Petition for Damages….” 20

           27.      For clarity, Defendants note that the three state law causes of action asserted in the

  Amended Reconventional Demand against Defendant-in-Reconvention, TPI, are the only claims

  directly asserted against a debtor in a bankruptcy case. Indeed, no other party to the State Court

  Action is a debtor in bankruptcy.21

                    3.       The Second Amended Petition and Pending Proceedings in the 24th JDC.

           28.      On March 24, 2020, Solares filed his Second Supplemental and Amending Petition

  for Damages (the “Second Amended Petition”) in the State Court Action.22

           29.      In the Second Amended Petition, Solares, among other things, added ADS Squared,

  LLC, as a defendant and asserted additional causes of action against all of the Defendants.




           18
              See id., p. 16:19-23.
           19
              See Florida Bankruptcy Proceeding. Dkt. No. 94.
           20
              Id. at § 8.
           21
              In fact, because TPI is a Chapter 7 debtor, any claims it may have against the parties to the State Court
  Action are the Chapter 7 Trustee’s to bring – not TPI’s.
           22
              See Second Amended Petition, attached hereto as Exhibit C.

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           30.     Solares’s new causes of action included: conversion of ownership interest in the

  Companies; conversion of DVLPMNT profits; a revocatory action; violations of the Florida

  Uniform Fraudulent Transfer Act; and actions for preliminary and permanent injunctions enjoining

  the Defendants from selling, donating, or disposing of their assets without court approval. 23

           31.     Still, all of the claims asserted in the State Court Action arise under state law, and

  none could arise only in a bankruptcy case.

           32.     Shortly after filing the Second Amended Petition, Solares filed his Motion for

  Partial Summary Judgment on Fraud Arising Out of Gregory Faia’s and Faia Development

  Group, LLC’s Deception Regarding Solares’ Profits from DVLPMNT Marketing, Inc. and his

  Motion for Partial Summary Judgment on Fraud Arising Out of Vernon Decossas’ Deception

  Regarding Solares’ DVLPMNT Marketing, Inc. Money (collectively, the “Motions for Summary

  Judgment”). The Motions for Summary Judgment were scheduled for hearing in the 24 th JDC on

  June 15, 2020.24

           33.     Meanwhile, on April 17, 2020, Defendants scheduled and noticed the video

  deposition of Solares for June 16-17, 2020. And on April 30, 2020, video depositions were noticed

  of Vivian Solares and Rachel Solares, Solares’s sisters, to occur on June 22, 2020, and of Brandi

  Solares, Solares’s wife, to take place on June 23, 2020 (collectively, the “Solares Depositions”)..25

                   4.       The Notice of Removal and Transfer Motion.

           34.     Also on April 30, 2020, as Solares was faced with the prospect of giving his sworn

  deposition testimony, he removed the State Court Action to the Bankruptcy Court, commencing

  this Adversary Proceeding. 26


           23
              See id.
           24
              See Motions for Summary Judgment, attached hereto as Exhibit J.
           25
              See Notices of Deposition, attached hereto as Exhibit K.
           26
              Dkt. No. 1.

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           35.      Contemporaneous with the Notice of Removal, Solares filed his Transfer Motion,

  seeking to transfer venue of the State Court Action to the U.S. Bankruptcy Court for the Middle

  District of Florida. 27

           36.      In the Transfer Motion, Solares relies on conclusory and self-serving assertions

  that, because the Adversary Proceeding will have some undefined impact on the Florida

  Bankruptcy Proceeding, the entire Adversary Proceeding – comprising state law issues and largely

  non-debtor, Louisiana-resident parties – should be forced into the Florida Bankruptcy Court. The

  Transfer Motion currently is set for hearing before the Bankruptcy Court on June 3, 2020. 28

           37.      Meanwhile, on May 12, 2020, Defendants filed their Motion for Abstention and

  Remand Pursuant to 28 U.S.C. §§ 1334(c) and 1452(b) (the “Abstention and Remand Motion”)

  [Dkt. No. 25], urging the Bankruptcy Court to abstain from presiding over this proceeding on the

  basis of mandatory abstention, or in the alternative, to exercise its discretion to permissively

  abstain from hearing this action and equitably remand it to the 24 th JDC. The Abstention and

  Remand Motion also is set for hearing before the Bankruptcy Court on June 3, 2020. 29

           38.      To more fully respond to Solares’s arguments in favor of transfer, an Objection to

  the Transfer Motion is being filed contemporaneously with this Motion. 30

                                             LAW AND ARGUMENT

  I.       Legal Standard

           39.      The federal district courts have original jurisdiction over bankruptcy cases and

  proceedings.31 28 U.S.C. § 157(a), in turn, provides that the district courts may delegate their




           27
              Dkt. No. 4.
           28
              Dkt. No. 11.
           29
              Dkt. No. 26.
           30
              Dkt. No. 34.
           31
              See 28 U.S.C. § 1334(a)-(b).

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  judicial authority over bankruptcy cases and proceedings by referring them to bankruptcy judges

  in their district. By its General Order dated April 11, 1990, the United States District Court for the

  Eastern District of Louisiana (the “District Court”) exercised its authority under § 157(a),

  ordering

                    that any or all cases under Title 11 and any or all proceedings arising
                    under Title 11 or arising in or related to a case under Title 11 filed
                    in or transferred or removed to this district be, and they hereby are,
                    referred to the Bankruptcy Judges of this district for consideration
                    and resolution consistent with law. 32

           40.      Under 28 U.S.C. § 157(d), after referring a case or proceeding to the bankruptcy

  court, a district court may, in its discretion, withdraw “in whole or in part, any case or proceeding”

  so referred “on its own motion or on timely motion of any party, for cause shown.” 33 In

  determining whether cause exists to withdraw the reference, district courts in the Fifth Circuit

  consider the following factors: (1) whether the matter involves core, non-core, or mixed issues; (2)

  whether or not there has been a jury demand; (3) the effect of withdrawal on judicial economy; (4)

  the effect of withdrawal on the goal of reducing forum shopping; (5) uniformity in bankruptcy

  administration; (6) the effect of withdrawal on fostering the economical use of the parties’

  resources; and (7) the effect of withdrawal on the goal of expediting the bankruptcy process.34

           41.      Here, application of the Holland America factors demonstrates that withdrawal is

  warranted under the permissive provision of § 157(d).

  II.      Discretionary Withdrawal of this Adversary Proceeding is Warranted Because the
           Holland America Factors Heavily Favor Withdrawal.



           32
               General Order—Reference of Bankruptcy Cases & Proceedings (E.D. La. Apr. 11, 1990); see also Eastern
  District of Louisiana Local Rule 83.4.1 (“All cases under Title 11 and all proceedings arising under Title 11 or arising
  in or related to a case under Title 11 are transferred by the district court to the bankruptcy judges of this district.”).
            33
               See 28 U.S.C. § 157(d).
            34
               See Holland Am. Ins. Co. v. Succession of Roy, 777 F.2d 992, 998–99 (5th Cir. 1985); Guilbeau Marine,
  Inc. v. T&C Marine, LLC (In re Guilbeau Marine, Inc.), No. 20-4, 2020 U.S. Dist. LEXIS 26809, at *5 (E.D. La. Feb.
  18, 2020) (weighing the Holland America factors).

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           42.      In reviewing the Holland America factors, it is evident that the decisive issue in

  withdrawing the reference in the instant Adversary Proceeding is the fact that Solares and the

  Defendants have demanded, and are entitled to, a jury trial. Cause may exist where the movant’s

  right to a jury trial, alone, dictates that the reference be withdrawn. 35 “The importance of this

  fundamental right carries such weight that the collective effect of the remaining . . . factors should

  not alter the final determination.”36 Nevertheless, because many of the remaining factors also

  favor a withdrawal of the reference, it is helpful to consider these factors as well.

           A.       The Underlying Lawsuit is a Non-Core Proceeding.

           43.      Authority to withdraw the reference applies to both core and non-core

  proceedings.37 Notably, however, where “[i]t does not appear that the bankruptcy law theories of

  recovery predominate over the … state law theories, … the presence of non-core claims in the case

  weighs in favor of withdrawal of the reference.”38

           44.      As briefed in the Defendants’ Abstention and Remand Motion and Objection to the

  Transfer Motion, Defendants assert, and Solares concedes, 39 that the Adversary Proceeding is a

  non-core proceeding because it neither arises under40 nor arises in41 the Bankruptcy Code. “If the

  proceeding does not invoke a substantive right created by the federal bankruptcy law and is one



           35
               Nu Van Tech., Inc. v. Cottrell, Inc. (In re Nu Van Tech., Inc.), Nos. 01-49589-DML-11, 03-4219, 2003
  Bankr. LEXIS 1331, at *6 (Bankr. N.D. Tex. Oct. 3, 2003) (citing Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 47-
  48, 106 L. Ed. 2d 26, 109 S. Ct. 2782 (1989)).
            36
               Johnson v. Williamson (In re British Am. Props. III), 369 B.R. 322, 323 (Bankr. S.D. Tex. 2007); see also
  In re Clay, 35 F.3d 190, 193 (5th Cir. 1994) (noting that the right to a jury trial, enshrined in the Bill of Rights, was
  considered “vital to the judiciary because juries check government overreaching, educate the citizens who serve on
  them, keep justice local, and permit popular participation in the administration of justice”).
            37
               Holland Am., 777 F.2d 992.
            38
               Adler v. Walker (In re Gulf States Long Term Acute Care of Covington, L.L.C.), 455 B.R. 869, 876 (E.D.
  La. 2011).
            39
               See Notice of Removal, Dkt. No. 1, ¶ 11-12 (alleging jurisdiction over this Adversary Proceeding arises
  out of related-to jurisdiction).
            40
               Wood v. Wood (In re Wood), 825 F.2d 90, 96-97 (5th Cir. 1987) (A case arises under title 11 if the
  proceeding involves a right created by the federal bankruptcy law.).
            41
               See id. at 97 (A case arises in title 11 if the proceeding is one that would arise only in bankruptcy.).

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  that could exist outside of bankruptcy it is not a core proceeding . . . under § 157(c)(1) it is an

  ‘otherwise related’ or non-core proceeding.”42

           45.      Because the Adversary Proceeding does not invoke any substantive right created

  by federal bankruptcy law, it is a proceeding that could exist entirely outside of bankruptcy – as it

  has for the past three years – in a Louisiana court. As explained above, Solares’s Petitions and

  Defendants’ Reconventional Demands assert claims arising solely under state contract and tort

  law. None of these causes of action could arise only in a bankruptcy case. 43 In fact, the State Court

  Action has been actively litigated in Louisiana state courts for three years outside of a bankruptcy

  court.

           46.      For these reasons, the Adversary Proceeding is non-core as it is only – at best –

  “related to”44 TPI’s Florida Bankruptcy Proceeding, initiated under the Bankruptcy Code.45

  Therefore, this factor weighs in favor of withdrawal of the reference. 46

           B.       The Parties’ Jury Demands Heavily Favor Withdrawal of the Reference.

           47.      In the instant proceeding, the parties have demanded trial by jury on all issues

  asserted both in Solares’s Petitions and in Defendants’ Reconventional Demands.




           42
              Longhorn Ptnrs. Pipeline L.P. v. KM Liquids Terminals, L.L.C., 408 B.R. 90, 96 (Bankr. S.D. Tex. 2009).
           43
              See id. (Explaining that despite the fact that a debtor’s claims may affect the assets of the estate, and
  therefore may fall within the literal language of enumerated core proceedings in § 157(b), almost all debtor claims
  may affect the estate in that they could lead to a judgment increasing or decreasing estate assets. If a court accepted
  such a contention, then virtually all “related to” proceedings would be considered core, and § 157 would serve no
  purpose.)
           44
              See Transcript of Clarification Motion Hearing, p. 42:2-3 (interpreting Solares’s individual causes of
  action, which are not Chapter 5 causes action, as related factually to the central facts of this Adversary Proceeding but
  not “related-to” the Florida Bankruptcy Proceeding in the legal sense of the term).
           45
              Notably, Solares himself characterizes the Adversary Proceeding as “related to” TPI’s Bankruptcy
  Proceeding, which is pending in the Bankruptcy Court. See Notice of Removal, Dkt. No. 1, ¶ 11-12.
           46
              See Guilbeau Marine, 2020 U.S. Dist. LEXIS 26809 at *5-6 (where claims were asserted for state law
  breach of contract and negligence, claims were non-core state law matters, and the first factor weighed in favor of
  withdrawal of the reference).

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           48.      Bankruptcy courts in the Eastern District of Louisiana are not authorized to conduct

  jury trials, 47 and – with due respect to the Bankruptcy Court – the Defendants do not consent to

  this Bankruptcy Court’s conducting a jury trial under 28 U.S.C. § 157(e).

           49.      Further, the Seventh Amendment provides a right to a jury trial where the suit is to

  ascertain and determine legal rights, as opposed to equitable rights. 48 A suit for monetary damages,

  like the Adversary Proceeding, is legal in nature.49

           50.      Accordingly, the fact that the Defendants and Solares, himself, have exercised their

  right to a trial by jury, informs that this factor favors – and perhaps mandates – withdrawal of the

  reference.50

           C.       Considerations of Judicial Economy Favor Withdrawal.

           51.      Here, where the Defendants have demanded a jury trial and have a right to a jury

  trial, considerations of judicial economy weigh in favor of withdrawal. As the Fifth Circuit noted:

                    If anything, jury trials in bankruptcy courts would impede
                    efficiency. These speedy courts were not designed to conduct long
                    jury trials, and most bankruptcy judges and lawyers are unused to
                    jury procedures. In this respect, district courts have far more
                    expertise than bankruptcy courts do.51




           47
               Bankr. Local Rule 9015-1 (“Jury trials are not held in this court.”); Travelers Indem. Co. v. Babcock &
  Wilcox Co., No. 01-3387, 2002 U.S. Dist. LEXIS 2477, 2002 WL 100625, at *4 (E.D. La. Jan. 23, 2002) (Vance, J.).
            48
               Guilbeau Marine, 2020 U.S. Dist. LEXIS 26809 at *6 (citing Granfinanciera, 492 U.S. at 55-56 (stating
  that “suits which … constitute no part of the proceedings in bankruptcy … are quintessentially suits at common law
  that more nearly resemble state-law contract claims … than they do creditors’ hierarchically ordered claims to a pro
  rata share of the bankruptcy res.”)).
            49
               Id. (citing In re Gulf States Long Term Acute Care of Covington, L.L.C., 455 B.R. 869, 876 (E.D. La. 2011)
  (citing Ross v. Bernhard, 396 U.S. 531, 533, 90 S. Ct. 733, 24 L. Ed. 2d 729 (1970); Garcia v. Queen, Ltd., 487 F.2d
  625, 628 & 628 n. 7 (5th Cir. 1973))).
            50
                See, e.g., In re Parkway Sales & Leasing, 411 B.R. 337, 350 (Bankr. E.D. Tex. 2009) (noting that if
  defendant is entitled to a jury trial, “the reference must be withdrawn” (emphasis added)); In re Clay, 35 F.3d at 198
  (ordering district court to withdraw the reference where defendant had a Seventh Amendment right to a jury trial and
  the bankruptcy court lacked the authority to conduct a jury trial); In re British Am. Props., 369 B.R. at 326 (finding
  that the “importance of this fundamental right [to a jury] carries such weight” that the other factors should not alter
  the determination to withdraw); Smith v. Lucent Technologies, Inc. 2004 WL 515769, at *29 (E.D. La. Mar. 16, 2004)
  (finding permissive withdrawal appropriate where there was a right to jury trial and claims were non-core).
            51
               In re Clay, 35 F.3d at 195 (internal citations omitted).

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           52.      “Furthermore, it is in the interest of judicial economy to withdraw the reference,

  considering the necessity for de novo review under 28 U.S.C. § 157(c)(1) if the bankruptcy court

  hears the non-core proceeding.”52 This factor, thus, favors withdrawal of the reference.

           D.       There are No Indicia of Forum Shopping.

           53.      From the time that the State Court Action was commenced in CDC and

  subsequently transferred to the 24th JDC, the Defendants have litigated in Louisiana state courts

  without jurisdictional dispute. By moving to withdraw the reference from the Bankruptcy Court at

  this juncture, the Defendants are simply seeking to enforce their constitutional right to a jury trial. 53

  As there is absolutely no indication whatsoever that the Defendants are forum shopping to evade

  the jurisdiction of the Bankruptcy Court, this factor weighs in favor of withdrawing the reference. 54

           E.       Withdrawal of the Reference Will Not Adversely Affect Uniformity in the
                    Bankruptcy Administration.

           54.      This Adversary Proceeding, as a non-core matter implicating purely civil law

  issues, does not involve the interpretation of bankruptcy laws. Therefore, the uniformity in

  bankruptcy administration factor is inapplicable. 55

           55.      Nevertheless, to the extent this factor were applicable, withdrawal of the reference

  would not adversely affect uniformity in TPI’s bankruptcy administration.




           52
               In re Tasch, Inc., 1999 U.S. Dist. LEXIS 1631, 1999 WL 64959, at *15 (E.D. La. Feb. 8, 1999).
           53
               See In re British Am. Props., 369 B.R. at 327 (“The Court believes that the Defendant is sincere in her
  argument that she is simply seeking to enforce her constitutional right to a jury trial, and is not trying to evade the
  jurisdiction of this Bankruptcy Court …. Accordingly, there are no indicia of forum shopping present; therefore, this
  factor favors withdrawal of the reference.”).
            54
               Defendants highlight the timing of this Motion for the District Court’s benefit. In an effort to conserve
  judicial and party resources, the Defendants filed this Motion only after the Bankruptcy Court entered an Order
  denying Defendants’ Ex Parte Motion to Continue Hearing on Solares’s Transfer Motion [Dkt. No. 31], as the prompt
  remand of this action to the 24th JDC would have protected Defendants’ right to a jury trial. Because the Bankruptcy
  Court has elected to consider the issues of remand and transfer simultaneously, Defendants are filing this Motion to
  withdraw the reference to ensure that their right to a jury trial is not waived. See Veldekens v. GE HFS Holdings, Inc.
  (In re Doctors Hosp. 1997, L.P.), 351 B.R. 813, 850-53 (Bankr. S.D. Tex. 2006).
            55
               See Guilbeau Marine, 2020 U.S. Dist. LEXIS 26809, at *6-7.

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           56.      “If a bankruptcy court is already familiar with the facts of the underlying action,

  then allowing that court to adjudicate the proceeding will promote uniformity in the bankruptcy

  administration.”56 Here, while this matter has been litigated for the past three years in Louisiana

  state courts, the Adversary Proceeding is still in its early stages in the Bankruptcy Court.

           57.      Solares’s Notice of Removal57 was filed on April 30, 2020. To date, the Bankruptcy

  Court has not reached any of the substantive issues implicated in this Adversary Proceeding.

  Rather, the parties have merely begun to litigate jurisdictional and venue-based disputes.

           58.      Because the Bankruptcy Court has not yet had the opportunity to become closely

  familiar with the complex procedural history or substantive issues underlying the Adversary

  Proceeding, a withdrawal of the reference at this time would not be disruptive to the uniformity

  of administration in TPI’s Bankruptcy Proceeding in the Middle District of Florida. 58

           59.      For these reasons, this factor likewise favors withdrawal of the reference.

           F.       Withdrawal of the Reference Constitutes an Economical Use of the Parties’
                    Resources.

           60.      Here, the parties have not invested any significant time briefing the Bankruptcy

  Court on the underlying merits of the dispute. As such, the District Court would be in no better or

  worse position to expeditiously adjudicate this action than the Bankruptcy Court, and the expense

  to the parties would not increase should the District Court adjudicate this action.




           56
              See In re British Am. Props., 369 B.R. at 327 (citing cases).
           57
              Dkt. No. 1.
           58
              See In re EbaseOne Corp., Bankr. No. 01-31527-H4-7, Adv. No. 06-3197, 2006 WL 2405732, at *4
  (Bankr. S.D. Tex. June 14, 2006) (finding that this factor favored withdrawal where motion to withdraw was filed
  shortly after the complaint and none of the substantive issues in the adversary proceeding had been reached); see
  also In re British Am. Props., 369 B.R. at 327 (because the court had not spent any significant time becoming familiar
  with the facts of the underlying complaint in the adversary proceeding, had not invested large amounts of time and
  resources, and had not made any other rulings in the proceeding, this factor favored withdrawal of the reference).

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           61.     Relatedly, because the parties have not invested significant resources in this

  proceeding in relation to the underlying substantive merits of the dispute, withdrawal of the

  reference would not cause any parties to lose any resources expended in the Bankruptcy Court.

           62.     The Notice of Removal was filed less than 30 days ago. As a result, this is not a

  situation where the Bankruptcy Court and the parties have progressed through an adversary

  proceeding for months before the Defendants attempted to enforce their right to a jury trial by

  seeking withdrawal of the reference. 59

           63.     Furthermore, while the Bankruptcy Court could manage pre-trial matters in this

  Adversary Proceeding, it would certainly be more efficient and less costly for the District Court to

  adjudicate all matters once and for all rather than for the Bankruptcy Court to hold hearings and

  then for the District Court to review the findings and conclusions on a de novo basis. 60 This factor,

  therefore, favors withdrawal of the reference.

           64.     Indeed, if the reference of this Adversary Proceeding is not withdrawn, the District

  Court would be required to conduct a de novo review pursuant to Bankruptcy Rule 9033 prior to

  any final disposition.

           G.      Withdrawal Will not Unduly Delay the Bankruptcy Process.

           65.     “A district court should consider the importance of the proceeding to the

  bankruptcy case and refuse to withdraw the reference if the withdrawal would unduly delay the

  administration of the bankruptcy case.”61 Further, the Defendants have not consented to a jury

  trial in this Bankruptcy Court and have not waived their right to a jury trial by filing a proof of




           59
             See id. at 328.
           60
             See, e.g., Ebase One Corp. 2006 WL 2405732, at *4-5 (citing Mirant Corp. v. S. Co., 337 B.R. 107, 122
  (N.D. Tex. 2006).
          61
             Id.

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  claim in TPI’s Bankruptcy Proceeding. Accordingly, this Bankruptcy Court has no authority to

  conduct a jury trial in this lawsuit. 62

                    Since [the Bankruptcy Court] is unable to conduct a jury trial in this
                    case, having the suit remain in the Bankruptcy Court and then facing
                    de novo review by the District Court would delay the final resolution
                    of this dispute, which in turn will delay the distribution to creditors
                    in the main bankruptcy case.63

           66.      The bankruptcy court reference will need to be withdrawn at some point in order to

  preserve the right to a jury trial. If the reference is withdrawn at this stage, the District Court will

  be able to closely manage these proceedings from the outset, define the scope of the facts and legal

  issues to be tried, conduct a jury trial, and enter a final judgment.

           67.      Additionally, as explained above, granting this Motion to withdraw the reference

  also will serve the interests of judicial economy because it will obviate any need to appeal rulings

  of this Bankruptcy Court to the District Court and, thereby, will bring this matter to a more

  expeditious resolution.64 Because adjudication in the District Court would promote a more

  expeditious resolution of this action, this factor likewise favors withdrawal. 65

  III.     Conclusion.

           68.      Accordingly, for the foregoing reasons, the Defendants respectfully ask the District

  Court to withdraw the reference of this Adversary Proceeding to the Bankruptcy Court. The

  Defendants further request any other relief to which the Court may find them to be justly entitled.




           62
              See In re Clay, 35 F.3d at 195-97 (holding that bankruptcy courts do not have the constitutional or
  statutory authority to conduct jury trials without the consent of the parties); Levine v. M&A Custom Home Builder
  & Developer, LLC, 400 B.R. 200, 205 (S.D. Tex. 2008) (without the consent of the parties, a bankruptcy court
  lacks the authority to conduct a jury trial).
           63
              In re British Am. Props., 369 B.R. at 328.
           64
              See Guilbeau Marine, 2020 U.S. Dist. LEXIS 26809, at *7 (citing Travelers Indem. Co., 2002 U.S. Dist.
  LEXIS 2477, 2002 WL 100625, at *4).
           65
              In re British Am. Props., 369 B.R. at 328; see also In re Clay, 35 F.3d at 198 (ordering district court to
  withdraw the reference where defendant had a right to a jury trial and bankruptcy court did not have authority to
  conduct a jury trial).

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                                        Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I hereby certify that a copy of the foregoing Memorandum in Support of Motion for Order

  Withdrawing the Reference was filed electronically through the Court’s CM/ECF system on May

  27, 2020, which provides notice to all counsel of record by electronic means. I further certify that

  on May 27, 2020, a true and correct copy of the foregoing was caused to be served by First Class

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